       Case 1:25-cv-00286-RCL           Document 79        Filed 05/06/25     Page 1 of 16




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 JANE DOE, et al.,


                     Plaintiffs,

        v.                                          Civil Docket No. 1:25-cv-286

 PAMELA BONDI, in her official capacity as
 Attorney General of the United States, et al.,


                     Defendants.


                                     PROTECTIVE ORDER

       With the agreement of the parties, the Court having determined that there is good cause for

issuance of a protective order pursuant to Federal Rule of Civil Procedure 26(c) to govern the

disclosure, use, and handling by the parties and their respective agents, successors, personal

representatives and assignees of certain information and items produced and received in discovery

in the above-captioned action, IT IS HEREBY ORDERED as follows:

A. DEFINITIONS

   1. “Action” shall mean the case captioned Doe v. Bondi, No. 1:25-cv-00286.

   2. “Confidential Information” shall mean information that, at the time of its production in

discovery in the action, or thereafter, is designated confidential by the Producing Party because of

a good faith belief that the information:

             a. is not in the public domain, or if in the public domain, is improperly in the public

                domain; and

                     i. is a trade secret or other confidential research, development, or commercial

                        information as such terms are used in Federal Rule of Civil Procedure
       Case 1:25-cv-00286-RCL          Document 79        Filed 05/06/25      Page 2 of 16




                      26(c)(1)(G);

                  ii. is personal financial, medical, or other private information relating to an

                      individual that would properly be redacted from any public court filing

                      pursuant to Federal Rule of Civil Procedure 5.2 or the prior Protective Order

                      in this Matter (ECF No. 57), including:

                          1. Biographical details, including but not limited to ages, places of

                              residence, current and former names, dates of birth, and school

                              experiences;

                          2. Criminal histories, including crimes an individual was convicted of,

                              quotes from sentencing judges, terms of incarceration, disciplinary

                              records, and rehabilitation activities;

                          3. Medical histories, records, treatments, and specific physical and

                              mental health diagnoses, including those outside of gender

                              dysphoria;

                          4. Other information that could identify an individual to the public;

                  iii. is information protected by the provisions of the Privacy Act of 1974, 5

                      U.S.C § 552a;

                  iv. is designated or treated as Law Enforcement Sensitive (“LES”); or

                   v. is protected or restricted from disclosure under the terms of any other statute

                      or regulation, but which the court may order be produced.

Confidential Information shall also include all other protected documents, information, or tangible

things not identified above that the parties agree in writing or the Court orders qualify for

protection under Federal Rule of Civil Procedure 26(c).



                                                 2
       Case 1:25-cv-00286-RCL          Document 79         Filed 05/06/25      Page 3 of 16




   3. “Disclose” (or forms thereof) shall mean to distribute, provide, or otherwise make available

for access, viewing, or copying. “Disclose” shall include the actual covered document or item as

well as the contents or information contained therein, such that disclosing a copy, summary,

paraphrasing, or characterization would be considered a disclosure of the document itself for

purposes of this Protective Order.

   4. “Document” shall mean all items listed in Federal Rule of Civil Procedure 34(a)(1)(A) &

(B).

   5. “Challenging Party” shall mean any party who challenges the designation of information

as Confidential Information under this Protective Order.

   6. “Designating Party” shall mean the party or other person producing in discovery in the

Action any information that the Producing Party seeks to designate and have treated as

Confidential Information pursuant to this Protective Order.

   7. “Producing Party” shall mean the person or party producing in discovery in the Action.

   8. “Receiving Party” shall mean any party who receives information that has been designated

as Confidential Information.

B. PURPOSE, SCOPE, AND LIMITATIONS OF PROTECTIVE ORDER

   9. This Protective Order applies to discovery, pre-trial, trial, and post-trial proceedings in this

action, whether the Documents are produced by a party or a person or entity who is not a party to

this action (a “non-party”). This Order binds the Parties and their respective agents, successors,

personal representatives, and assignees.

   10. This Protective Order supersedes the prior Protective Order entered in this matter (ECF

No. 57).

   11. Nothing in this Protective Order supersedes existing independent statutory, law



                                                 3
       Case 1:25-cv-00286-RCL            Document 79        Filed 05/06/25       Page 4 of 16




enforcement, national security, or regulatory obligations imposed on a Party, and this Protective

Order does not prohibit or absolve the Parties from complying with such other obligations.

   12. This Protective Order shall not prejudice in any way any party’s ability to challenge the

use or disclosure of information other than information designated as Confidential Information

under this Protective Order in this Action. A party’s compliance with the terms of this Protective

Order shall not operate as an admission that any particular material is or is not (a) confidential, (b)

privileged, or (c) admissible in evidence at trial.

   13. The protections conferred by this Protective Order do not cover any information

           a. that is properly in the public domain;

           b. that properly becomes part of the public domain after its disclosure to a Receiving

               Party as a result of publication not involving a violation of this Protective Order,

               including becoming part of the public record in this Action through trial or

               otherwise; or

           c. that is known to the Receiving Party prior to the disclosure or obtained by the

               Receiving Party after the disclosure from a source who obtained the information

               lawfully and under no obligation of confidentiality to the Producing Party.

   14. This Protective Order governs the disclosure, use, and handling of all Confidential

Information, regardless of the format or medium in which such Confidential Information is

generated, stored, or maintained.

   15. Any Confidential Information referenced in any pleading or contained in any Document

filed with the Court in this Action by the Producing Party shall at the time of filing cease to be

Confidential Information unless the Producing Party files the un-redacted pleading or Document

under seal, pursuant to the sealing procedures articulated in the Local Rules.



                                                      4
       Case 1:25-cv-00286-RCL           Document 79         Filed 05/06/25      Page 5 of 16




   16. This Protective Order governs all documents and information exchanged or disclosed by

the parties in this action, whether before or after the entry of this Protective Order.

   17. Neither the termination of this Action nor the termination of employment of any person

who has had access to any Confidential Information shall relieve such person of his or her

obligations under this Protective Order, which shall survive.

C. METHOD FOR DESIGNATING CONFIDENTIAL INFORMATION

   18. Designations of Confidential Information shall be made by the Producing Party, prior to or

at the time of production, except as otherwise provided by this Protective Order.

   19. The Designation of Confidential Information should be limited only to those Documents

or portions of Documents that qualify under the appropriate standards or under the definition of

“Confidential Information” in Paragraph 2 of this Protective Order. Each Party agrees that

designation of Confidential Information shall be made in good faith and not: (a) to impose burden

or delay on an opposing Party, or (b) for tactical or other advantage in litigation.

   20. Documents produced in discovery in this Action shall be designated as containing

“Confidential Information.” For documents produced in paper or an electronic form that allows

endorsements or similar designation on the image, the designation shall appear by the inclusion of

the marking of “Confidential – Subject to Protective Order” on at least the first page of the

document asserted to contain Confidential Information. For electronic information that is provided

in native form or a format that is not amenable to visible endorsement on the image, the file

name(s) shall begin with “Confidential – Subject to Protective Order.” The media on which the

Confidential Information is provided (e.g., CD, DVD, external hard drive) also must be and remain

plainly labeled with “Confidential – Subject to Protective Order” unless and until the protection of

the data within the media is removed. Any copying or transferring of electronic files that are



                                                  5
       Case 1:25-cv-00286-RCL           Document 79        Filed 05/06/25      Page 6 of 16




designated as Confidential Information must be done in a manner that maintains the protection for

all copies, including, but not limited to, in the filename(s) and the location where the copies are

stored and users’ access thereto.

   21. For interrogatory answers and responses to requests for admissions, designation of

Confidential Information shall be made by placing within each interrogatory answer or response

to requests for admission asserted to contain Confidential Information the following: “Confidential

– Subject to Protective Order.”

   22. For depositions, designation of Confidential Information shall be made during the

deposition on the record or by letter from counsel within thirty (30) days of receipt of the official

deposition transcript or copy thereof (or written notification that the transcript is available). All

such designations of Confidential Information in a deposition shall include the reason(s) for the

assertion and shall list the specific pages and lines of the transcript and/or any exhibits that

constitute Confidential Information. The entire deposition transcript (including any exhibits not

previously produced in discovery in this Action) shall be treated as Confidential Information under

this Protective Order until the expiration of the above-referenced 30-day period for designation,

except that the deponent (and his or her counsel, if any) may review the transcript of his or her

own deposition during the 30-day period subject to the terms of this Protective Order. After

designation of Confidential Information is made, the following shall be placed on the front of the

original and each copy of a deposition transcript containing Confidential Information:

“Confidential – Subject to Protective Order.” If the deposition was filmed, both the recording

storage medium (i.e. CD or DVD) and its container shall be labeled “Confidential – Subject to

Protective Order.”

   23. For any other Document or item produced in discovery in this Action not falling within



                                                 6
       Case 1:25-cv-00286-RCL           Document 79        Filed 05/06/25      Page 7 of 16




Paragraphs 20, 21, or 22 above, designation of Confidential Information shall be made by labeling

the item or the item’s container with “Confidential – Subject to Protective Order.” If only a portion

or portions of the information contained in the item warrant protection as Confidential Information,

it shall be accompanied by a cover letter identifying the specific portion or portions so designated.

   24. After producing a document without the legend described in Paragraphs 20, 21, 22, or 23

a Producing Party may claim a document contains and must be treated as Confidential Information

by notifying a Receiving Party in writing that the document is to be treated as containing

Confidential Information.

   25. If it comes to a Producing Party’s attention that information designated as Confidential

Information does not qualify or no longer qualifies for protection, the Producing Party must

promptly notify all Parties that it is withdrawing the designation for the applicable information.

D. CHALLENGING CONFIDENTIAL DESIGNATIONS

   26. A Challenging Party shall not be obliged to challenge the propriety of a Confidential

Information designation at the time made, and a failure to do so shall not preclude a subsequent

challenge thereto.

   27. Each Party agrees that any challenge to a Confidential Information designation must be

made in good faith and not: (a) to impose burden or delay on an opposing Party, or (b) for tactical

or other advantage in litigation.

   28. The Challenging Party shall initiate a challenge to the designation of any Confidential

Information under this Protective Order within thirty (30) days of receipt of a Document that has

been designated as Confidential Information, by providing to the Designating Party (a) written

notice of each designation it is challenging and (b) a description of the basis of each challenge.

   29. The Challenging Party and the Designating Party shall attempt to resolve each challenge



                                                 7
       Case 1:25-cv-00286-RCL          Document 79       Filed 05/06/25      Page 8 of 16




in good faith and must begin a meet and confer process within seven (7) calendar days after the

Designating Party receives notice from the Challenging Party. During the conferring process, the

Challenging Party must convey its basis for the challenge and the Designating Party must have an

opportunity to review the applicable documents and either maintain, withdraw, or modify the

designation. The Designating Party must communicate its decision(s) to the Receiving Party within

fourteen (14) calendar days after receipt of notice of the challenge, or within a reasonable time

agreed to by the Parties.

   30. If the Designating Party decides to withdraw its designation, it shall give notice of this

change to all parties.

   31. If the Challenging and Designating Parties cannot come to a resolution within the time set

forth in Paragraph 28 above, or as otherwise agreed, the Challenging Party may file a motion

seeking a determination from the Court. The documents or information at issue shall be treated as

Confidential Information until the Court has ruled on the objection or the matter has otherwise

been resolved.

   32. Any information designated as Confidential Information pursuant to and after the entry by

the Court of this Protective Order shall be treated as Confidential Information until such time as

(a) the Designating Party agrees that it shall no longer be treated as Confidential Information or

(b) the Court rules that such information should not be treated as Confidential Information.

   33. After a designation as Confidential Information is removed or withdrawn by the

Designating Party or by the Court, the Designating Party must provide to the Receiving Party

replacement documents, files, or information that are free from any markings or designations as

Confidential Information. The replacement versions shall be provided in the same format as the

information that is to be replaced, unless otherwise agreed to by the Parties. The presumptive time



                                                8
         Case 1:25-cv-00286-RCL           Document 79         Filed 05/06/25    Page 9 of 16




for providing the replacement information shall be ten (10) days, but the Designating Party must

in good faith provide the information in a reasonable time, considering any agreements with the

Receiving Party, the volume of information to be re-produced, and the nature or format of the

information.

E. DISCLOSURE, USE AND HANDLING OF CONFIDENTIAL INFORMATION

      34. A Receiving Party may use Confidential Information only for prosecuting, defending, or

attempting to settle this Action, and shall disclose such Confidential Information only in

accordance with the terms of this Protective Order.

      35. Counsel of record are responsible for employing reasonable measures, consistent with this

Protective Order, to control access to and secure distribution of Confidential Information.

      36. Defendants may not disclose Confidential Information regarding Plaintiffs, including

Plaintiffs’ identities, to any third party unless such disclosure is necessary to defend against this

action and subject to the Court’s Order allowing Plaintiffs to proceed using pseudonyms (ECF No.

7).

      37. Confidential Information shall only be disclosed, summarized, described, characterized, or

otherwise communicated or made available in whole or in part to the following persons:

             a. Counsel (including outside counsel) for the Parties, including associated personnel

                 necessary to assist counsel in this Action, such as legal assistants, paralegals, and

                 litigation support, information technology, information or records management,

                 investigative, secretarial, or clerical personnel;

             b. Current employees of the Parties who are assisting with respect to this Action;

             c. Any person with prior authorized access to the Confidential Information including

                 individual Plaintiffs who otherwise would have access to their own medical records



                                                    9
      Case 1:25-cv-00286-RCL          Document 79        Filed 05/06/25      Page 10 of 16




               and other information in their own BOP files (except information designated as

               Attorney’s Eyes Only);

           d. Current employees of the Producing Party;

           e. Witnesses, potential witnesses, and deponents, including their counsel;

           f. Court reporters and other persons not employed by this Court, retained to record or

               transcribe testimony or argument at interviews or depositions in connection with

               this Action;

           g. Photocopying, data processing, and other support services that are reasonably

               necessary in this Action;

           h. Retained expert witnesses and consultants;

           i. Mediators or arbitrators; and

           j. This Court (including any judicial officer to whom this Court may refer this matter

               for settlement purposes), jurors, and Court personnel, including persons recording

               or transcribing testimony or argument at a conference, hearing, trial, or appeal in

               this Action.

   38. Disclosure to the persons referenced in subsections (E)(3)(a)–(j) above may only occur

after the person to whom the disclosure is being made has been given a copy of this Protective

Order and has signed a declaration in the form attached hereto as “Exhibit A.”

   39. Persons receiving Confidential Information pursuant to the terms of this Protective Order

are prohibited from disclosing it except in conformance with this Protective Order.

   40. Unless the Designating Party gives written permission, all Confidential Information that is

filed with the Court must be (1) filed under seal or in camera in accordance with the Court’s Local

Rules and procedures, and/or (2) redacted from any filing that is publicly available.



                                                10
      Case 1:25-cv-00286-RCL           Document 79       Filed 05/06/25      Page 11 of 16




   41. If a Receiving Party or anyone subject to this Protective Order receives a subpoena under

Fed. R. Civ. P. 45 (or an equivalent mechanism under state law) seeking Confidential Information

as designated in this Action, the Receiving Party or such individual shall promptly notify the

Designating Party and shall not disclose any Confidential Information until the Designating Party

has had a reasonable opportunity to inform the subpoenaed person that either (a) the Designating

Party does not object to the production of the Confidential Information or (b) that that the

Designating Party will seek appropriate relief or protection from the proper court to prevent the

production. The Designating Party shall bear the burden and expense of seeking protection of its

designated Confidential Information, and nothing in this Protective Order should be construed as

authorizing or encouraging a Receiving Party or subpoenaed person to disobey a lawful directive

from this or another court.

   42. If the need arises for any party to disclose Confidential Information in a proceeding in open

Court or in support of a dispositive motion, it may do so only after giving seven (7) days’ notice

to the producing party who, after a good faith effort to meet and confer, may seek additional relief

from the Court.

F. ATTORNEY’S EYES ONLY INFORMATION

   43. A Producing Party may designate as “Attorney’s Eyes Only Information” any Confidential

Information the disclosure of which to another Party or Non-Party would create a risk of harm that

could not be avoided by less restrictive means. To do so, a Producing Party shall add the marking

“Attorney’s Eyes Only” to the markings described in Paragraphs 20, 21, and 22 where the

designation applies.

   44. Consistent with Paragraph 28, the Challenging Party shall initiate a challenge to the

designation of Attorney’s Eyes Only designations within thirty (30) days of receipt of a Document



                                                11
      Case 1:25-cv-00286-RCL           Document 79        Filed 05/06/25      Page 12 of 16




that has been designated as Attorney’s Eyes Only, by providing to the Designating Party (a) written

notice of each designation it is challenging and (b) a description of the basis of each challenge.

   45. The Challenging Party and the Designating Party shall attempt to resolve each challenge

in good faith and must begin a meet and confer process within seven (7) calendar days after the

Designating Party receives notice from the Challenging Party. During the conferral process, the

Challenging Party must convey its basis for the challenge and the Designating Party must

communicate its decision(s) to the Receiving Party within seven (7) calendar days after the meet

and confer or within a reasonable time agreed to by the Parties.

   46. If the Challenging and Designating Parties cannot come to a resolution within the time set

forth in Paragraph 45 above, or as otherwise agreed, the Challenging Party may file a motion

seeking a determination from the Court. The documents or information at issue shall be subject to

the additional restrictions imposed for Attorney’s Eyes Only information until the Court has ruled

on the objection or the matter has otherwise been resolved.

   47. Material marked Attorney’s Eyes Only may not be disclosed to Named Parties, but may be

disclosed to: (1) the Parties’ counsel of record and agency counsel, including their associates,

clerks, paralegals, litigation support personnel, and such other regular and temporary employees

who assist counsel in connection with the action; (2) any court adjudicating part of this matter,

including judges, law clerks, assistants, interpreters, and stenographic personnel; and (3) any

expert witnesses or consultants retained by the parties for this litigation, once such person or

persons have read this Order and agrees in writing to be bound by its terms in the form attached

hereto as Exhibit A.

G. INADVERTENT PRODUCTION OF CONFIDENTIAL INFORMATION

   48. Nothing herein shall be deemed or construed as a waiver of any applicable privilege, right



                                                 12
      Case 1:25-cv-00286-RCL          Document 79       Filed 05/06/25      Page 13 of 16




of privacy, or proprietary interest with respect to any information or item. The Parties agree to

follow Fed. R. Civ. P. 26(b)(5)(B) with respect to any inadvertently or unintentionally produced

or disclosed Confidential Information.

   49. If a Receiving Party learns that, by inadvertence or otherwise, it, or a person to whom it

has disclosed Confidential Information in accordance with this Protective Order, has disclosed

Confidential Information to any person or in any circumstance not authorized under this Protective

Order, including instances of suspected or confirmed data breaches or cybersecurity incidents, the

Receiving Party shall, upon learning of the unauthorized disclosure:

           a. promptly notify the person(s) to whom the unauthorized disclosure was made that

               the unauthorized disclosure contains Confidential Information subject to this

               Protective Order;

           b. promptly make all reasonable efforts to obtain the return of the Confidential

               Information and to prevent further unauthorized disclosures of the Confidential

               Information, including requesting the person who received the unauthorized

               disclosure to agree to be bound by the terms of this Protective Order by executing

               a declaration in the form attached as “Exhibit A”; and

           c. promptly after discovery of the unauthorized disclosure, notify the Producing Party

               and all other Parties of the identity of the person(s) to whom the unauthorized

               disclosure was made, the circumstances surrounding the unauthorized disclosure,

               and the steps taken to prevent any use or further disclosure of the Confidential

               Information that was the subject of the unauthorized disclosure.




                                               13
      Case 1:25-cv-00286-RCL          Document 79        Filed 05/06/25     Page 14 of 16




H. DISPOSITION OF DOCUMENTS CONTAINING CONFIDENTIAL INFORMATION

   50. Except as provided in this Protective Order, within 90 days of the final termination of this

Action, whether by settlement, judgment, or other disposition or conclusion and all appeals or

opportunities to appeal therefrom, a Receiving Party shall take reasonable steps either to (a)

destroy or delete all items designated as Confidential Information or (b) return them to the

Designating Party, depending upon the Designating Party’s stated reasonable preference, except

materials that exist on back-up tapes or similar systems. Materials that exist on back-up tapes,

systems, or similar storage need not be immediately deleted or destroyed, and, instead, such

materials may be overwritten and destroyed in the normal course of business. Until they are

overwritten in the normal course of business, the Receiving Party will take reasonable steps to

limit access to back-up tapes, systems, or similar storage to the persons necessary to conduct

routine IT and cybersecurity functions. The Receiving Party also will take reasonable steps to

notify persons to whom it distributed Confidential Information pursuant to this Order that such

information should be returned to Receiving Party or destroyed by the person possessing the

information with written confirmation to Receiving Party.

   51. For material that contains or reflects Confidential Information, but that constitutes or

reflects counsel’s work product, or that of retained consultants and experts, counsel of record for

the Parties shall be entitled to retain such work product in their files in accordance with the

provisions of this Protective Order, so long as it is and remains clearly marked to reflect that it

contains Confidential Information subject to this Protective Order.

   52. Counsel of record for the Parties shall also be entitled to retain an archival copy of all

pleadings; affidavits; motion papers; trial, deposition, and hearing transcripts; legal memoranda;

correspondence; deposition and trial exhibits; expert reports; briefs; other papers filed with the



                                                14
      Case 1:25-cv-00286-RCL            Document 79        Filed 05/06/25      Page 15 of 16




Court; work product, including consultant and expert work product; and any other parts of the trial

record, even if such material contains Confidential Information, so long as such material is and

remains clearly marked to reflect that it contains Confidential Information. Even after the final

disposition of this Action, the terms of this Protective Order shall continue to govern the disclosure,

use, and handling of any Confidential Information unless and until its Designating Party agrees

otherwise in writing or a court order directs.

   53. In particular, attorneys for the United States may maintain copies of any documents

designated as Confidential Information in their case file for this case, and may maintain copies of

any notes or summaries containing such Confidential Information in their case file for this case,

consistent with 44 U.S.C. § 3101, et seq., and 5 U.S.C. § 552, et seq.

I. AMENDMENT OR TERMINATION

   54. This Order is without prejudice to the right of any Party to apply at any time for additional

protection, or to amend, modify, or rescind the restrictions of this Order. The Party must provide

written notice to counsel of record for all parties in this action specifying the portion(s) of this

Order it seeks to amend, modify, or rescind and any additional provisions it may seek to add to the

Order at least seven (7) business days in advance of filing any such motion. The Parties expressly

reserve the right to seek modification, amendment, or rescission of this Order by mutual agreement

in writing.

J. ALL OBJECTIONS, REDACTIONS, WITHHOLDINGS, RIGHTS PRESERVED

   55. This Order is intended to provide a mechanism for handling the disclosure or production

of Confidential Information to which there is no objection other than confidentiality. The

protection afforded by this Order shall in no way affect a Party’s right to withhold, redact

documents, or seek to designate information as: (a) privileged under the Attorney-Client or other

privilege, (b) protected by the Attorney Work Product Doctrine, (c) protected by the Law
                                                  15
        Case 1:25-cv-00286-RCL          Document 79        Filed 05/06/25      Page 16 of 16




Enforcement Privilege, Deliberative Process Privilege, or other similar privilege; or (d) otherwise

exempted from discovery under Rule 26 of the Federal Rules of Civil Procedure or under any law.

Additionally, this Order shall not prejudice the right of a Party to: (a) seek additional protective

treatment for any information _it considers to be very highly sensitive, or otherwise exempt from

disclosure, such that the protections in this Order would be insufficient, (b) object to the

designation of any document or information as Protected Information, or (c) seek any modification

of or relief from any provision of this Order, either generally or as to any particular Confidential

Information, by properly noticed motion with notice to all Parties and their respective counsel.

    56. This Order does not constitute any ruling on the question of whether any particular

document or category of information is subject to the Privacy Act or is otherwise properly

discoverable, and does not constitute any ruling on any potential objection to the discoverability,

relevance, or admissibility of any document or information.

    57. Nothing in this Order shall be construed as a waiver of any defense, right, objection, or

claim by any party, including any objection to the production of documents and any claim of

privilege or other protection from disclosure, and this Order shall not be precedent for adopting

any procedure with respect to the disclosure of any such other information.

    58. Nothing in this Order shall require production of information that is prohibited from

disclosure (even with the entry of this Order) by other applicable privileges, statutes, regulations,

or authorities.



DATED:--------                                By:¾c.k.JM.
                                              Royce C. Lamberth
                                              United States District Judge




                                                 16
